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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: January 26, 2011


____________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO

IN RE:                                           )       BANKRUPTCY CASE NO. 10-50991
                                                 )
Elizabeth Annette Cameron                        )
                                                 )       CHAPTER 13
                DEBTOR                           )
                                                 )       JUDGE HOFFMAN
                                                 )

      ORDER GRANTING MOTION TO MODIFY CONFIRMED PLAN (Doc # 45)

        This cause came on for the consideration of the Court upon the Motion to Modify

Confirmed Plan filed by the Debtor, Docket # 45.After consideration of the Pleadings, and by

virtue of the fact that no party objected to said modification. The Debtors Motion to Modify

Confirmed Plan is hereby granted.

        It is therefore ORDERED that the confirmed plan of the Debtors be modified subject to

the following terms:

To lower plan payment to $300.00 per month until plan completes. Starting January 1st, 2011

The dividend to the unsecured creditors will remain unchanged.
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        This modification is due to Ms. Cameron is now paying mortgage payment outside the plan. Pursuant

to a Motion for order authorizing loan modification Doc#36, and order granting Motion doc #39


 IT IS HEREBY ORDERED:

 SUBMITTED By:

        /s/ Karen E. Hamilton, 0064808
        Karen E. Hamilton
        31 E. Whittier Street
        Columbus, Ohio 43206
        (614) 443-7920
        (614) 443-7922 Fax

        Served On:


Default List




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